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                               IN THE UNITED STATES DISTRICT COURT FOR THE
                                              WESTERN DISTRICT OF MISSOURI
                                                   CENTRAL DIVISION

UNITED STATES OF AMERICA

-vs-                                                                   Case No.: 06-4054-02-CR-C-NKL

CRAIG F. SWOBODA

                                                                       USM Number: 18446-045

                                                                       Georgia Mathers, CJA
                                                                       522 E Capitol
                                                                       Jefferson City, MO 65101
___________________________________

                                               JUDGMENT IN A CRIMINAL CASE


The defendant pleaded guilty to Count 1 of the 2nd superseding indictment on 1/27/09. Accordingly, the court has adjudicated
that the defendant is guilty of the following offense(s):

                                                                                           Date Offense            Count
       Title & Section                             Nature of Offense                        Concluded            Number(s)

 18 USC 371, 1341,               Conspiracy to Commit an Offense Against the United         February 28,             1ss
 1343, 1956, and 1957            States (Mail Fraud, Wire Fraud, and Money                2006
 (Class C Felony)                Laundering)

The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

Count(s) 1, 1s, 10s, 10ss, 11s-15s, 11ss-15ss, 16s, 16ss are dismissed on the motion of the United States.

IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                       Date of Imposition of Sentence: January 4, 2010




                                                                       /s/ Nanette Laughrey
                                                                       NANETTE LAUGHREY
                                                                       UNITED STATES DISTRICT JUDGE

                                                                       February 1, 2010




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                                                   IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 60 Months on Count 1 of the 2nd Superceding Indictment.

         The defendant is remanded to the custody of the United States Marshal.




                                                      RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this judgment.


                                                                          __________________________________
                                                                                 UNITED STATES MARSHAL


                                                                       By:__________________________________
                                                                                   Deputy U.S. Marshal




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                                                   SUPERVISED RELEASE

        Upon release from imprisonment, the defendant shall be on supervised release for a term of 3 years on Count 1 of
the 2nd Superceding Indictment.

        The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of
release from custody of the Bureau of Prisons.

         The defendant shall not commit another federal, state or local crime.

         The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful
use of a controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as determined by the court.

          The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low
risk of future substance abuse.

         The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.

       If this judgment imposes a fine or restitution, it is a condition of supervision that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.

        The defendant must comply with the standard conditions that have been adopted by this court as well as with any
additional conditions on the attached page.

                                     STANDARD CONDITIONS OF SUPERVISION

1.       The defendant shall not leave the judicial district without the permission of the court or probation officer;

2.       The defendant shall report to the probation officer and shall submit a truthful and complete written report within the
         first five days of each month;

3.       The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
         officer;

4.       The defendant shall support his or her dependents and meet other family responsibilities;

5.       The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling,
         training, or other acceptable reasons;

6.       The defendant shall notify the probation officer at least ten (10) days prior to any change in residence or employment;

7.       The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or
         administer any controlled substance or any paraphernalia related to any controlled substances, except as prescribed
         by a physician;

8.       The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
         administered;

9.       The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any
         person convicted of a felony, unless granted permission to do so by the probation officer;

10.      The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
         confiscation of any contraband observed in plain view by the probation officer;


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11.      The defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a
         law enforcement officer;

12.      The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
         without the permission of the court;

13.      As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
         defendant’s criminal record or personal history or characteristics, and shall permit the probation officer to make such
         notifications and to confirm the defendant’s compliance with such notification requirement.




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                             ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

         The defendant shall also comply with the following additional conditions of supervised release:

1.       The defendant shall pay any restitution balance during the first 30 months of supervision on the schedule set by the
         Court.


2.       The defendant shall not incur new credit card charges or open additional lines of credit without the approval of the
         Probation Office.


3.       The defendant shall provide the Probation Officer access to any requested financial information.


4.       Defendant not be employed or serve in any position in which he would act in a fiduciary capacity.

5.       Defendant not be self-employed without prior permission from the Probation Office.



                                     ACKNOWLEDGMENT OF CONDITIONS

        I have read or have had read to me the conditions of supervision set forth in this judgment and I fully understand them.
I have been provided a copy of them.

        I understand that upon finding of a violation of probation or supervised release, the Court may (1) revoke supervision,
(2) extend the term of supervision, and/or (3) modify the conditions of supervision.

_______________________________________                 ____________________
Defendant                                               Date

________________________________________                ____________________
United States Probation Officer                          Date




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                                            CRIMINAL MONETARY PENALTIES


       The defendant must pay the total criminal monetary penalties under the schedule of payments set forth in the Schedule
of Payments.

             Total Assessment                                   Total Fine
                                                                                                *Total Restitution
                    $100                                            $                               $2,434,148


         The defendant shall make restitution (including community restitution) to the following payees in the amount listed
below.

        If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(I), all
nonfederal victims must be paid in full prior to the United States receiving payment.

         You are hereby ordered to begin payment immediately and continue to make payments to the best of your ability until
this obligation is satisfied. While in custody you are directed to participate in the Bureau of Prisons Financial Responsibility
Program, if eligible, and upon your release from custody you shall adhere to a payment schedule as determined by the
Probation Office.



                                                                                                          Priority or
         Name of Payee                        Total Loss                 Restitution Ordered              Percentag

 Tom Ball                                      $12,500                        $12,500

 Jill Barr                                         $1,000                      $1,000

 Anne Beets                                        $3,000                      $3,000

 John & Ellie Bono                             $25,000                        $25,000

 Leilani Brandeland                           $133,000                        $133,000

 Kyle & Kelly Bruce                            $23,123                        $23,123

 Michael Carel                                     $3,333                      $3,333

 Harry Chadwell                                $29,000                        $29,000

 Amy Chow                                      $31,000                        $31,000

 Brian Christensen                                 $7,000                      $7,000

 Frances Clark                                     $3,125                      $3,125

 Bruce & Jane Clayton                              $8,333                      $8,333

 Tim & Anne Cochran                            $59,000                        $59,000

 Rick Dennis                                       $6,250                      $6,250

 Jack & Cynthia Doss                           $12,500                        $12,500

 Steve & Lisa Dresner                         $125,000                        $125,000


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 Charles Dye                                   $45,000                      $45,000

 Nena Endicott                                     $500                      $500

 Richard Erickson                              $37,500                      $37,500

 Alfonso Espinosa                              $31,000                      $31,000

 Enrique Espinosa                                  $7,000                   $7,000

 Robert Feldwisch                              $25,000                      $25,000

 Alan Feurer                                       $2,000                   $2,000

 Forrest Feurer                                    $6,250                   $6,250

 Steve Feurer                                      $2,083                   $2,083

 Brad Fisher                                       $6,250                   $6,250

 Hsiu Fong                                         $3,000                   $3,000

 Mark & Joan Foreman                          $450,000                     $450,000

 John & Charlotte Fussner                      $19,000                      $19,000

 Donald Garnett                                $17,917                      $17,917

 Tom Garnett                                   $17,000                      $17,000

 Arnold & Charlene Gerloff                     $16,666                      $16,666

 Michael Gerloff                               $16,666                      $16,666

 Melvin & Josephine                            $12,500                      $12,500
 Gerstner

 Steve & Michelle Gerstner                     $25,000                      $25,000

 Chris Golka                                   $10,806                      $10,806

 Greater America                               $29,682                      $29,682
 Distributing

 Robert Gunn                                   $12,500                      $12,500

 Andi Hilburn                                  $40,000                      $40,000

 Norma Hilburn                                 $37,500                      $37,500

 Sheri Howard                                      $200                      $200

 Jim Husbenet                                      $6,250                   $6,250

 Louis Jennings                                $25,000                      $25,000

 David & Mary Kahler                               $2,000                   $2,000

 Margie Kahler                                     $2,000                   $2,000

 Ron Karnowski                                     $6,250                   $6,250

 G.J. Keeler                                       $5,000                   $5,000


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 Max Keeler                                   $250,000                     $250,000

 Nellis Keeler                                     $5,000                   $5,000

 Rodney Keesee                                 $12,500                      $12,500

 William Keesee                                $12,500                      $12,500

 Russell Koestner                              $26,667                      $26,667

 Lenee Lane                                        $6,250                   $6,250

 Donald & Diane Lemke                          $14,000                      $14,000

 Duane Lemke                                  $360,530                     $360,530

 Gregory Logan                                     $1,000                   $1,000

 Sandra Logan                                      $1,000                   $1,000

 Curtis & Claudia McCleary                     $17,917                      $17,917

 Lowell McCoy                                      $5,000                   $5,000

 John McGowan                                      $6,250                   $6,250

 Roger McIntosh                                $12,500                      $12,500

 Patrick & Laurie McKenna                      $12,500                      $12,500

 Bonnie Milton                                     $1,000                   $1,000

 Tim & Kim Myers                               $20,000                      $20,000

 Tom & Kim Myers                                   $2,500                   $2,500

 William Nuelle                                $10,000                      $10,000

 Catherine O’Neil                                  $7,000                   $7,000

 William O’Neil                                    $500                      $500

 Brian Redders                                 $12,500                      $12,500

 Ron Richardson                                $25,000                      $25,000

 Leland Rinehart                               $19,500                      $19,500

 Louis Wayne Robinett                              $1,000                   $1,000

 Dawn Schmidtlein                                  $500                      $500

 Maria Schulte                                     $1,000                   $1,000

 Robert Scribner                               $25,000                      $25,000

 Delores Scruggs                                   $2,000                   $2,000

 David Shada                                       $1,250                   $1,250

 William Shaffer                                   $3,600                   $3,600

 Julia Sterrett                                $12,500                      $12,500


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 Melissa Walther                                    $12,500                                $12,500

 Pauline Wendt                                      $66,600                                $66,600

 Lodmilla Westling                                   $6,250                                 $6,250

 Don & Siobhan White                                 $1,000                                 $1,000

 Steve & Valerie White                               $9,200                                 $9,200

 Terry Whittle                                      $12,500                                $12,500

 Ken & Barbara Wiezorek                              $3,200                                 $3,200

 Mick & Paula Wilson                                 $2,000                                 $2,000

 Patty & Chuck Wobker                                $6,250                                 $6,250

 Anyu Wu                                             $1,000                                 $1,000

 Gregory & Maria Yunk                               $12,500                                $12,500



         The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in
full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the
Schedule of Payments may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

          The Court has determined that the defendant does not have the ability to pay interest, and it is ordered that:

                    The interest requirement is waived for the restitution.

Note: Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for offenses committed
on or after September 13, 1994 but before April 23, 1996.

* See separate Restitution Judgement for further details




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                                                   SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

         Special Assessment of $100 is due immediately.

        Restitution lump sum payment of $2,434,148 is due immediately. If unable to pay the full amount immediately, while
incarcerated the defendant shall make quarterly payments of $25 or at least 10 percent of earnings, whichever is greater, and
while on supervised release, monthly payments of $500 or 10 percent of gross income, whichever is greater, to commence
30 days from release from incarceration. No further payment shall be required after the sum of the amounts paid by
defendants Gail Wilkerson, William McNeely, and Craig Swoboda has fully compensated the victims. While restitution is still
owed, the defendant shall notify the United States Attorney of any change of residence within 30 days and notify the Court and
United States Attorney when there is a material change in the defendant’s economic circumstances.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




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